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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA            )
                                    )
      vs.                           )                  Crim. No. 1:21-cr-00159 (ABJ)
                                    )
CLEVELAND GROVER                    )
MEREDITH, JR.                       )
                                    )
            Defendant               )
____________________________________)


                   DEFENDANT’S OPPOSITION TO GOVERNMENT’S
                   MOTION TO CONTINUE AND TO EXCLUDE TIME
                         UNDER THE SPEEDY TRIAL ACT

         Defendant Cleveland Grover Meredith, Jr., by and through undersigned counsel, hereby

 submits, pursuant to LCrR 47, this Opposition to the Government’s Motion to Continue and to Exclude

 Time Under the Speedy Trial Act (“Motion to Exclude Time”) (Docket No. 20). In support of this

 Opposition, Defendant states briefly as follows:

                       MEMORANDUM OF POINTS AND AUTHORITIES
                       RELEVANT FACTS AND PROCEDURAL HISTORY

       On January 7, 2021, Defendant was arrested by FBI agents at the hotel room where he

was staying in the District and taken into custody. Per the Government, Defendant arrived by

truck and trailer in the District late on January 6, 2021 (after the riots at the Capitol that day) with

firearms and ammunition and “transmitted numerous threatening communications to several

individuals” in relation to Speaker of the House Nancy Pelosi. Government’s Memorandum in

Support of Pretrial Detention at 1-5. Docket No. 4. The firearms and ammunition were later

seized from Defendant’s trailer. The Government has not presented any evidence or information

indicating, inter alia, that Defendant made any “threatening communications” directly to Speaker

Pelosi or posted them online; took any actions while in the District to actually follow up on such
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allegedly “threatening communications”; ever removed the firearms or ammunition from the

trailer; or ever participated in any January 6, 2021 or post-January 6, 2021 riot-related activities.

Indeed, per information presented at the detention hearing, Defendant was resting in his hotel

room when arrested.

       On January 8, 2021, Defendant was charged by criminal complaint with violations of 18

U.S.C. § 875(c) (Interstate Communication of Threats); D.C. Code § 7-2502.01(a) (Possession of

Unregistered Firearm); and D.C. Code § 7-2506.01(a)(3) (Possession of Unregistered

Ammunition). Ubong Apkan, Esq. of the Federal Public Defender of the District of Columbia

was appointed to represent Defendant.

       On January 8, 2021, Magistrate Judge Harvey presided over a Telephonic Initial

Appearance in which the Government moved orally for temporary detention pending trial

pursuant to 18 U.S.C. §§ 3142(f)(1)(D), (f)(1)(E) and (f)(2)(A).         Magistrate Judge Harvey

granted the motion for temporary detention (3-day hold), and the matter was later set for a

detention hearing on January 14, 2021. Minute Entries for January 13, 2021.

       On January 13, 201, the Government and defense each filed briefs on the issue of pretrial

detention. Docket Nos. 4 & 5.

       On January 14, 2021, a hearing was held before Magistrate Judge Harvey to address

Defendant’s conditions of release pursuant to 18 USC § 3142(b). See Defendant’s Motion to

Revoke Magistrate’s Order of Detention Pending Trial and to Set Conditions of Release, Exhibit

1, Transcript (redacted) of Detention Hearing on January 14, 2021 (“Motion to Revoke, Exhibit

1”). Docket 19. At the hearing, the Government argued, inter alia, that Defendant had acted

“under the spell of the QAnon extremist ideological conspiracy movement” and, as such, was

“someone who is volatile and someone who we cannot expect to follow any conditions of release
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that are issued by the court.” Motion to Revoke, Exhibit 1 at 23. The defense countered, inter

alia, that 18 U.S.C. § 875(c) is not a crime of violence that is eligible for detention per 18 U.S.C.

§ 3142(f)(2)(A), id. at 4; that Defendant had made clear in other text messages that the allegedly

threatening communications were not meant to be taken seriously – “LOL. I’m just having fun”,

id. at 25; that Defendant had previously participated peacefully in a rally at the Capitol in

November 2020 without incident, id. at 26; and that, as the Government had acknowledged,

Defendant is 53 years old and has no prior criminal record, id. at 28-30. Magistrate Judge

Harvey found that the alleged “communicated threat made criminal under Section 875 is a crime

of violence, making the charge sanction eligible under 3142(f)(1)(A)”, id. at 10, and rejected

defense arguments that a combination of conditions of release under 18 USC § 3142(c), such as

GPS monitoring and refraining from illicit drug use, could be fashioned to ensure Defendants’

appearance at future proceedings and the safety of other persons and the community, id. at 33.

Magistrate Judge Harvey ordered that Defendant be detained pending trial, Order of Detention

Pending Trial, Docket No. 10, and a preliminary hearing was set for January 28, 2021, Docket

No. 10.

          On January 25, 2021, the parties filed a consent motion to continue the preliminary

hearing for a date after February 28, 2021, Docket No. 11, which motion was granted, Docket

No. 12.

          On February 11, 2021, undersigned counsel of Kiyonaga & Soltis, P.C. entered his

appearance as counsel for Defendant, substituting for Ms. Apkan. Docket No. 15.

          On February 17, 2021, AUSA Anthony Franks entered his appearance as substitute

counsel for the Government. Docket No. 16.

          On February 22, 2021, the Court held the ascertainment of counsel/status hearing. The
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parties moved orally to move the date of the preliminary hearing to March 22, 2021 to allow time

for discovery to be provided to undersigned counsel. The Court and parties discussed the

possibility of having an arraignment in lieu of a preliminary hearing on March 22, 2021 if the

Government secured an Indictment in the meantime.

       On February 26, 2021, an Indictment was filed, charging Defendant with violations of 18

U.S.C. § 875(c) (Interstate Communication of Threats); D.C. Code § 7-2502.01(a) (Possession of

Unregistered Firearm); D.C. Code § 7-2506.01(a)(3) (Possession of Unregistered Ammunition);

and D.C. Code § 7-2506.01(b) (Possession of Large Capacity Ammunition Feeding Devices).

Docket No. 17.

       On March 15, 2021, Defendant submitted a Motion to Revoke Magistrate’s Order of

Detention Pending Trial and to Set Conditions of Release (“Motion to Revoke”). Docket No. 19.

       On March 16, 2021, the Government submitted the instant Motion to Exclude Time,

requesting that the Court provide a 60-day continuance of this case and exclude such time within

which the trial must commence per the Speedy Trial Act, 18 U.S.C. § 3161, et seq., “on the basis

that the ends of justice served by taking such actions outweigh the best interest of the public and

the defendants in a speedy trial pursuant to the factors described in 18 U.S.C. § 3161(h)(7)(A),

(B)(i), (ii), and (iv).” Docket No. 20. Defendant did not consent to the relief sought in the

Motion to Exclude Time. Id. By Minute Order dated March 17, 2021, the Court instructed

Defendant to submit his Opposition to the Motion to Exclude Time by March 23, 2021. See

Minute Entry dated March 17, 2021.

       On March 19, 2021, the Government submitted a Motion to File Under Seal the

Government’s Response to the Motion to Revoke. Docket No. 22. Per Minute Entry dated

March 18, 2021, the Court has set a hearing on the Motion to Revoke for March 26, 2021, at
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which time Defendant will also be arraigned on the charges in the Indictment and the instant

Motion to Exclude will be addressed. See Minute Entry dated March 18, 2021.

                                           ARGUMENT

         The Government has moved to continue this matter for 60 days and exclude such time

 under the Speedy Trial Act, 18 U.S.C. 3161, et seq., on the basis that the “investigation and

 prosecution of the Capitol Attack will likely be one of the largest in American history, both in

 terms of number of defendants prosecuted and the nature and volume of the evidence.” Motion

 to Exclude Time at 2. Evidently, the Government is in consultation with the Federal Public

 Defender to develop a “comprehensive plan for handling, tracking, processing, reviewing and

 producing discovery across the Capitol Attack cases” which envisions that “discovery most

 directly and immediately related to pending charges in cases involving detained defendants will

 be provided within the next thirty to sixty days.” Id. at 3. So it follows, per the Government,

 that an “interests of justice finding” is appropriate in this case under the factors set forth in 18

 U.S.C. § 3161(h)(7)(A), (B)(i), (ii), and (iv). Id. at 5 (setting forth factors). As the Government

 summarizes in the Motion to Exclude Time:

        In sum, due to the number of individuals currently charged across the Capitol
        Attack investigation and the nature of those charges, the on-going investigation
        of many other individuals, the volume and nature of the potentially discoverable
        materials, and the reasonable time necessary for effective preparation for all
        parties taking into account the exercise of due diligence, the failure to grant such
        a continuance in this proceeding would be likely to make a continuation of this
        proceeding impossible, or result in a miscarriage of justice.

Id. at 7-8.

         There is a fundamental problem with the Government’s Motion to Exclude Time: the

 Government has not alleged that Defendant participated in the riot at the U.S. Capitol on

 January 6, 2021 or conspired with anyone in relation to such riot. Indeed, the Defendant has not
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been charged with any of the “spectrum of crimes” that are being investigated in relation to the

U.S. Capitol riot, including “ “trespass, engaging in disruptive or violent conduct in the Capitol

or on Capitol grounds, destruction of government property, theft of government property,

assaults on federal and local police officers, firearms offenses [in relation to the Capitol riot],

civil disorder, obstruction of an official proceeding, possession and use of destructive devices,

and conspiracy.” Motion to Exclude Time at 2 (listing offenses being investigated).

       In fact, per the Government’s own depiction of the relevant events, Defendant did not

even arrive in the District until after the riot had ended. Motion to Revoke, Exhibit 1 at 21-22.

Moreover, the Government has presented no information or evidence – be it by proffer or

through discovery to date – that Defendant, inter alia, arranged ahead of time with any

participants in the U.S. Capitol riot to join them at the riot; communicated with any participant

in the U.S. Capitol riot during the time of the riot; or took any efforts the day after the riot to

communicate with or meet up with any such participants. Nor has the Government provided

any information or evidence that indicates that the text messages at issue were sent to any

persons at the riot at the U.S. Capitol, to any law enforcement personnel protecting the U.S.

Capitol that day or to any government or Congressional officials.

       To the contrary, the Indictment in this case involves alleged actions by Defendant that

are circumscribed, individual to him, i.e., the sending of text messages from his cell phone to

friends and family, and distinct from the actions of those who actually participated in, or

conspired to participate in, the U.S. Capitol riot on January 6, 2021. This case may relate in

some broad sense to the events of January 6, 2021, but the actual allegations against Defendant

– principally, the sending of allegedly threatening text messages to family and friends – are

tangential to those events. As such, there is no need to await the completion of likely the
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“largest” investigation “in American history” in order for this case to proceed to trial. Motion to

Exclude Time at 2. Once pointed, individualized discovery relating to the charges in the

Indictment has been provided and any pretrial motions or other matters addressed, this case will

be ready to go to trial without the requested 60-day continuance and exclusion of related time

under the Speedy Trial Act.

        The Government chose to arrest Defendant. The Government has chosen to indict

Defendant. The Government has chosen to press for Defendant to be detained pending trial. It

is thus not for the Government now to delay the trial in this case and infringe on Defendant’s

Speedy Trial Rights because it is overwhelmed by an investigation into a peripheral event

involving peripheral participants on peripheral potential charges.

        WHEREFORE, Defendant Cleveland Grover Meredith, Jr. respectfully requests that

the Court deny Government’s Motion to Continue and to Exclude Time Under the Speedy Trial Act and set

a trial date compliant with the Defendant’s rights to a speedy trial which will allow sufficient time for the

circumscribed, individualized discovery in this matter to be produced and any pretrial motions resolved.

                                                           Respectfully submitted,

                                                           KIYONAGA & SOLTIS, P.C.

                                                           /s/ Paul Kiyonaga
                                                           _________________________
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March 23, 2021                                             Counsel for Defendant
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                               CERTIFICATE OF SERVICE
       I hereby certify that on this 23rd day of March, 2021, a true and correct copy of the
foregoing Defendant’s Opposition to Government’s Motion to Continue and to Exclude Time Under the
Speedy Trial Act was served via the ECF system on the on the following attorneys for the
Government:

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                                                           /s/ Paul Y. Kiyonaga
                                                           ________________________
                                                           Paul Y. Kiyonaga
